     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 1 of 18 Page ID #:3730




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8                            UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10
11      GOLDWATER BANK, NA,                          5:21-cv-616-JWH-SPx
                                        Plaintiff,
12
                                       MEMORANDUM SUPPORTING
13      vs.                            MOTION FOR REVIEW OF
14                                     MAGISTRATE JUDGE’S RULING
        ARTUR ELIZAROV, ET AL.,        ON A NON-DISPOSITIVE
15                          Defendant. MOTION, TO WIT: TO QUASH
16                                     SUBPOENA DUCES TECUM TO
                                       RITE CARE HOSPICE, INC. [191]
17
18                                                   Date: 11/18/2022
19                                                   Time: 9:00 am
                                                     Court: Hon. John W. Holcomb
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                                                 i
        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 2 of 18 Page ID #:3731




1                                                  TABLE OF CONTENTS
2      TABLE OF AUTHORITIES ................................................................................... iii
3      INTRODUCTION .....................................................................................................1
4
       FACTS .......................................................................................................................2
5
       STANDARD OF REVIEW .......................................................................................6
6
7      ARGUMENT .............................................................................................................7
8               A.      The records sought are not directly relevant to any issue in the
9      case              .................................................................................................................8
10              B.      The subpoena is an illegal fishing expedition designed to satisfy
11     Goldwater’s unfounded hunch .................................................................................11
12
       CONCLUSION ........................................................................................................14
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                       ii
        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 3 of 18 Page ID #:3732




1                                             TABLE OF AUTHORITIES
2      Cases
3      Allen v. Woodford, No. CVF051104OWWLJO 2007 WL 309485 (E.D. Cal., Jan.
4         30, 2007) ................................................................................................................8
5      Barrenda L. v. Superior Court, 65 Cal.App.4th 794 (Cal. Ct. App. 1998) ...............9
6      Board of Trustees v. Superior Court, 119 Cal.App.3d 516 (Cal. Ct. App. 1981) .....8
7      Burlington Northern v. Weyerhaeuser Co., 719 F.2d 304 (9th Cir. 1983) ................6
8      Corker v. Costco Wholesale Corp., Cause No. C19-0290RSL(W.D. Wash. Dec. 4,
9         2020) ....................................................................................................................12
10     Cortinas v. Vasquez, 1:19-cv-00367-JLT-SKO (PC), 2022 WL 1053298, (E.D.
11        Cal. Apr. 7, 2022).................................................................................................12
12     El Dorado Savings & Loan Assn. v. Superior Court, 190 Cal.App.3d 342 (Cal. Ct.
13        App. 1987) .............................................................................................................8
14     Gamez v. United States, No. CV-17-02044-PHX-JJT (ESW), 2018 WL 3471074,
15        (D. Ariz. July 19, 2018) .......................................................................................12
16     GW Grundbesitz AG v. Gunn, 221CV02074CDSNJK, 2022 WL 4359131 (D. Nev.
17        Sept. 20, 2022) .....................................................................................................12
18     Harris v. Superior Court, 3 Cal.App.4th 661 (Cal. Ct. App. 1992) ..........................8
19     Kahaku v. Wallace, 2:20-CV-1807 KJN P, 2022 WL 2333725 (E.D. Cal. June 28,
20        2022) ....................................................................................................................12
21     Kayes v Pacific Lumber Co, 51 F.3d 1449 (9th Cir 1995) ........................................9
22     Kulas v. Flores, 255 F.3d 780 (9th Cir. 2001) ...........................................................7
23     Look v. Penovatz, 34 Cal.App.5th 61 (Cal. Ct. App. 2019) ......................................8
24     Monte H. Greenawalt Revocable Trust v. Brown, 2:12-cv-01983-LRH-VCF (D.
25        Nev. Dec. 18, 2013) .............................................................................................13
26     Nat'l Wildlife Fed'n v. Nat'l Marine Fisheries Serv., 886 F.3d 803 (9th Cir. 2018) .6
27     Osband v. Woodford, 290 F.3d 1036 (9th Cir. 2002) ................................................7
28
                                                                    iii
        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 4 of 18 Page ID #:3733




1      Ritter v. Morton, 513 F.2d 942 (9th Cir. 1975) .........................................................6
2      SCC Acquisitions, Inc. v. Superior Court (Western Albuquerque Land Holdings,
3         LLC), 243 Cal.App.4th 741 (Cal. Ct. App. 2015) .................................................8
4      Simpson v. Lear Astronics Corp., 77 F.3d 1170 (9th Cir. 1996) ...............................6
5      Trustees of the Constr. Indus. & Laborers Health & Welfare Trust v. Las Vegas
6         Metro. Police Sheryl Archie, 2:12-cv-00225-JCM-VCF (D. Nev. July 15, 2013)
7         ..............................................................................................................................13
8
9      Statutes
10     28 U.S.C. § 636 ..........................................................................................................6
11     Cal. Const. art. I § 1 ...................................................................................................8
12
13     Rules
14     Fed.R.Civ.P. 26 ........................................................................................................12
15     Fed.R.Civ.P. 72 ..........................................................................................................6
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                      iv
        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 5 of 18 Page ID #:3734




1                                       INTRODUCTION
2             Among other allegations, Goldwater Bank, National Association
3      (Goldwater) asserted in its verified complaint, which Goldwater’s president Peter
4      Hill executed under penalty of perjury, that Elizarov lied in his original mortgage
5      application as follows: Elizarov misrepresented his marital status, failed to disclose
6      a pending lawsuit against BMW, and failed to disclose a default on a debt to the
7      Internal Revenue Service. Goldwater also claimed that Elizarov misrepresented
8      his income and assets as of May 2020 when Elizarov applied to Goldwater for
9      mortgage assistance (i.e., forbearance). During discovery, subpoenaed
10     employment and income records from Elizarov’s former employer Rite Care
11     Hospice, Inc. (Rite Care) for the entire year 2019. The magistrate subsequently
12     denied Elizarov’s motion to quash the subpoena because the magistrate found that
13     Elizarov’s employment and income records from 2019 were “directly relevant” to
14     help Goldwater “assess” the allegations of fraud in the loan application and
15     mortgage assistance application as well as to assess “fraud claims generally.”
16            The ruling was wrong as a matter of law.
17            First, the court could allow Goldwater to invade Elizarov’s constitutionally
18     protected zone of privacy just because Goldwater wanted to “assess” its claims.
19     Discovery could be permitted if and only if the records were “directly relevant” to
20     prove a disputed issue of fact in the case. Therefore, the magistrate used the wrong
21     standard.
22            Second, employment and income records from 2019 were not directly
23     relevant to the claim of fraud in the loan application because the complaint did not
24     allege that Elizarov lied about his income in that application.
25            Finally, the records were not directly relevant to prove the claim of fraud in
26     the assistance application because the application did not require Elizarov to
27     disclose his income from 2019. The application instead required Elizarov to
28     disclose his then current income.
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        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 6 of 18 Page ID #:3735




1             Therefore, the court should sustain Elizarov’s objections, set the magistrate’s
2      ruling aside, and enter a new order GRANTING Elizarov’s motion to quash.
3                                             FACTS
4             The Internal Revenue Service (IRS) filed a tax lien against Elizarov relating
5      to 2014 taxes on October 16, 2017. Ex. O-1. At the time, Elizarov owned a
6      residence in Valley Village, California. When Elizarov sold the residence in
7      January 2018, Elizarov paid off the outstanding balance to the IRS from the
8      proceeds of the sale. Ex. U (IRS demand); Exhibit V (escrow payment to the IRS);
9      Exhibit W (escrow final settlement statement). This payment occurred 18 months
10     before Elizarov obtained a loan from Goldwater in July 2019.
11            Elizarov filed a lawsuit against BMW Financial Services, NA in Los
12     Angeles Superior Court on March 11, 2019. Ex. Z. The lawsuit settled
13     unconditionally on May 22, 2021, two months before Elizarov obtained a loan
14     from Goldwater. Ex. Y. Elizarov’s counsel, Ilya Alekseyeff, filed a notice of
15     unconditional settlement with the court the same day. Ex. X. The lawsuit was
16     dismissed on August 14, 2021. Ex. Z.
17            Elizarov contacted Goldwater’s loan officer Gregory Hill about a loan
18     around June 24, 2019. Ex. S-1. When discussing the application with Gregory
19     Hill via text, Elizarov disclosed information about Elizarov’s husband “Ilya,” Ex.
20     S-5, 9; and disclosed his BMW lawsuit and its settlement, Ex. S-8. (See Figure A
21     and Figure B on the following pages for a screen capture of those messages.)
22     Elizarov also disclosed to Gregory Hill that his IRS debt was paid off in January
23     2018. (The conversation with Gregory Hill alerted Elizarov that the IRS had not
24     yet removed the lien and prompted Elizarov to contact the IRS. The IRS
25     subsequently released the lien on December 18, 2019, after Elizarov’s prompting.
26     Ex. O.)
27            Based on the information that Elizarov provided Gregory Hill over the
28     phone, email, and text messages, Gregory Hill completed the Fannie Mae Uniform
                                                 2
        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 7 of 18 Page ID #:3736




1      Loan Application. Ex. K.
2             After Goldwater approved the loan, Elizarov signed a Fannie Mae uniform
3      deed of trust and a Fannie Mae uniform note. Ex. L; Ex. M; Ex. N.
4             In May 2020, Elizarov requested forbearance from Goldwater. At
5      Goldwater’s request, Elizarov completed the Fannie Mae standard Mortgage
6      Assistance Application. Ex. G.
7             Figure A
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20            Figure B
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        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 8 of 18 Page ID #:3737




1             Elizarov notified Gregory Hill that Elizarov was selling the house on
2      February 3, 2021. Ex. S-23. On February 4, 2021, Elizarov sent Gregory Hill the
3      escrow officer’s contact information. Ex. S-24. Therefore, Goldwater knew since
4      February 4, 2021, that Elizarov was selling the house and had the escrow officer’s
5      contact information.
6             On March 3, 2021, Elizarov emailed Peter Hill a copy of the purchase
7      agreement for the property. Ex. H.
8             On March 25, 2021, Elizarov discovered that Goldwater’s deed of trust was
9      unrecorded. Ex. AA-2, 3. This discovery was significant because Goldwater had
10     not complied with the deed of trust, which required Goldwater to give Elizarov a
11     30-day notice of acceleration before Goldwater could require payment in full at the
12     time of the sale. Ex. C-7 (¶ 71, First Affirmative Defense).
13            The transaction closed on March 29, 2021. Ex. FF. After the transaction
14     closed, Elizarov refused to repay the entire balance but conceded that Elizarov
15     remained liable to Goldwater for the scheduled periodic payments under the
16     existing amortization schedule. Rather than accept the payments, Goldwater sued.
17            In its amended verified complaint, Goldwater made several baseless
18     allegations. First, Goldwater claimed that Elizarov failed to disclose his marital
19     status, BMW lawsuit, or IRS debt. Ex. B-5 (¶¶ 25-31). These allegations were
20     lies. Goldwater knew that Elizarov had a husband, “Ilya,” knew that Elizarov was
21     involved in a lawsuit with BMW that settled in May, and knew that Elizarov paid
22     off his IRS lien 18 months earlier. Goldwater knew this information because
23     Elizarov disclosed it to Goldwater’s loan officer Gregory Hill. Not willing to let
24     facts and evidence stand in its way, Goldwater lied to the court under oath and
25     alleged the claims anyway 1.
26            Goldwater also alleged that Elizarov misrepresented his income and assets in
27
28
       1
              Peter Hill verified the complaint on Goldwater’s behalf. Ex. B-20.
                                                 4
        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
     Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 9 of 18 Page ID #:3738




1      the assistance application when he claimed his income as $1,050.00 per week in
2      unemployment benefits and his assets as $3,500 cash on hand. Ex. B-6 (¶¶ 38-41).
3      In making this allegation, Goldwater represented to the court that Goldwater had
4      evidence to show that Elizarov’s income exceeded $1,050 per week and assets
5      exceeded $3,500 cash on hand. Goldwater’s counsel similarly certified that an
6      evidentiary basis existed to support these claims. But none has ever existed. Not
7      only did Goldwater fail to allege what made Elizarov’s allegations false (i.e., what
8      Elizarov’s income and assets were), but Goldwater subsequently failed to recite
9      any facts or evidence to support these claims. Therefore, the fraud claim was
10     based on absolutely nothing despite Goldwater’s and its counselors’ representation
11     to the contrary.
12            Goldwater subpoenaed Elizarov’s personnel file and income history from
13     Elizarov’s employers Rite Care Hospice, Inc. to try to prove its baseless claim of
14     fraud. The subpoena to Rite Care Hospice sought the following records:
15            1. Any and all documents, records, or communications reflecting the
16     beginning and ending of Elizarov’s employment with You.
17            2. Any and all documents, records, or communications related to the status
18     of Your employment of Artur Elizarov during the Relevant Period.
19            3. Any and all documents and records pertaining to any and all
20     compensation provided to Artur Elizarov, including but not limited to annual
21     salary records and employee bonus payments, during the Relevant Period.
22     Ex. J-5. The “Relevant time period” was defined as January 1, 2019, through
23     September 31, 2019. Ex. J-6.
24            On August 16, 2022, Elizarov filed a motion to quash Goldwater’s subpoena
25     to Rite Care [176]. 2 The court heard the motion on September 13, 2022, and
26
27     2
             The motion also sought an order quashing Goldwater’s subpoena to
28     Elizarov’s employer eCivis, Inc. Elizarov is not objecting to the magistrate’s
       adverse ruling on that part of the motion.
                                                  5
        MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
        DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                                [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 10 of 18 Page ID #:3739




1    subsequently denied the motion in a written order on September 21, 2022 [191].
2
3                                STANDARD OF REVIEW
4          “When a pretrial matter not dispositive of a party's claim or defense is
5    referred to a magistrate judge to hear and decide, the magistrate judge must
6    promptly conduct the required proceedings and, when appropriate, issue a written
7    order stating the decision.” Fed.R.Civ.P. 72(a). If a party is dissatisfied with the
8    magistrate judge’s ruling, the party must object to the ruling to the district judge
9    within 14 days. Id. The party’s failure timely to object forfeits review on appeal.
10   Id. (“A party may not assign as error a defect in the order not timely objected to”);
11   Simpson v. Lear Astronics Corp., 77 F.3d 1170, 1174 (9th Cir. 1996) (“a party who
12   fails to file timely objections to a magistrate judge's nondispositive order with the
13   district judge to whom the case is assigned forfeits its right to appellate review of
14   that order”).
15         Upon review, “[t]he district judge in the case must consider timely
16   objections and modify or set aside any part of the order that is clearly erroneous or
17   is contrary to law.” Fed.R.Civ.P. 72(a). See also 28 U.S.C. § 636(b)(1)(A) (“A
18   judge of the court may reconsider any pretrial matter…where it has been shown
19   that the magistrate judge’s order is clearly erroneous or contrary to law”).
20         “A finding of fact is clearly erroneous if it is implausible in light of the
21   record, viewed in its entirety,” Nat'l Wildlife Fed'n v. Nat'l Marine Fisheries Serv.,
22   886 F.3d 803, 820 (9th Cir. 2018) (internal citations omitted), “if the record
23   contains no evidence to support [the finding],” Id, “if [the finding] was induced by
24   an erroneous view of the law,” Ritter v. Morton, 513 F.2d 942, 949 (9th Cir. 1975),
25   or “when although there is evidence to support [the finding], the reviewing court is
26   left with a definite and firm conviction that a mistake has been committed,”
27   Burlington Northern v. Weyerhaeuser Co., 719 F.2d 304, 307 (9th Cir. 1983)
28   (internal citations omitted).
                                                6
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
     DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 11 of 18 Page ID #:3740




1          Questions of law are reviewed de novo. Osband v. Woodford, 290 F.3d
2    1036, 1041 (9th Cir. 2002), citing Kulas v. Flores, 255 F.3d 780, 783 (9th Cir.
3    2001).
4
5                                        ARGUMENT
6          In its subpoena to Elizarov’s former employer Rite Care, Goldwater sought
7    all documents, records, and communications reflecting the beginning and ending of
8    Elizarov’s employment with Rite Care, relating to Elizarov’s employment status
9    during 2019, and a record of compensation that Elizarov received from Rite Care
10   in 2019. The subpoena did not seek records for any other time period.
11         Under California Constitution, Elizarov’s employment records are protected
12   from disclosure in civil litigation. To obtain these records, Goldwater had to
13   specifically identify an issue in litigation and explain how the subpoenaed evidence
14   was directly relevant to that particular issue.
15         To protect his privacy, Elizarov promptly moved to quash the subpoena. In
16   his motion, Elizarov argued that Goldwater was not entitled to the subpoenaed
17   materials because they were not relevant to any issue raised by the pleadings.
18   Although Goldwater alleged in its complaint that Elizarov lied in the mortgage
19   application about his marital status, pending lawsuits, and tax liens (allegations that
20   have since proven to be based on perjury), Goldwater did not allege any
21   misrepresentations regarding Elizarov’s income or employment. Therefore,
22   Goldwater’s subpoena was an unlawful “fishing expedition” designed to satisfy
23   Goldwater’s unfounded hunch, not to obtain evidence supporting specific
24   allegations in the complaint.
25         This court previously assigned all discovery matters to The Honorable Sheri
26   Pym, Magistrate Judge, for adjudication. After a full briefing and an oral
27   argument, Judge Pym denied the motion.
28         On review, the court should find, on the record before the magistrate, that
                                                7
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
     DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 12 of 18 Page ID #:3741




1    Goldwater failed to establish direct relevance and should set aside the magistrate’s
2    order as contrary to the law.
3
4           A.    The records sought are not directly relevant to any issue in the
5    case
6           “All people are by nature free and independent and have inalienable rights.
7    Among these are enjoying and defending life and liberty, acquiring, possessing,
8    and protecting property, and pursuing and obtaining safety, happiness, and
9    privacy.” Cal. Const. art. I § 1, italics added. “ ‘Personal financial information
10   comes within the zone of privacy protected by article I, section 1 of the California
11   Constitution.’ ” SCC Acquisitions, Inc. v. Superior Court (Western Albuquerque
12   Land Holdings, LLC), 243 Cal.App.4th 741, 754 (Cal. Ct. App. 2015), citing
13   Harris v. Superior Court, 3 Cal.App.4th 661, 664 (Cal. Ct. App. 1992). Employee
14   personnel records are also protected. El Dorado Savings & Loan Assn. v. Superior
15   Court, 190 Cal.App.3d 342, 345 (Cal. Ct. App. 1987), disapproved of on other
16   grounds in Williams v. Superior Court of L.A. Cnty., 3 Cal.5th 531, 558 n.8 (Cal.
17   2017); Board of Trustees v. Superior Court, 119 Cal.App.3d 516, 525-526 (Cal. Ct.
18   App. 1981), disapproved of on other grounds in Williams v. Superior Court of L.A.
19   Cnty., 3 Cal.5th 531, 558 n.8 (Cal. 2017).
20          Despite the constitutional foundation for the right, Article 1 § does not
21   absolutely bar discovery. Allen v. Woodford, No. CVF051104OWWLJO, 2007
22   WL 309485, at *6–7 (E.D. Cal., Jan. 30, 2007). “In the face of an objection based
23   on privacy, the party seeking discovery of the information must show that the
24   information is ‘directly relevant’ to a cause of action or defense, such that
25   disclosure is ‘essential to the fair resolution of the lawsuit.’ ” Look v. Penovatz, 34
26   Cal.App.5th 61, 73 (Cal. Ct. App. 2019), internal citations omitted.
27          Evidence is directly relevant if “ (a) it has any tendency to make a fact more
28   or less probable than it would be without the evidence; and (b) the fact is of
                                                8
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
     DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 13 of 18 Page ID #:3742




1    consequence in determining the action.” Fed.R.Evid. 401.
2          “The party seeking the constitutionally protected information has the burden
3    of establishing that the information sought is directly relevant to the
4    claims.” Barrenda L. v. Superior Court, 65 Cal.App.4th 794, 801-02 (Cal. Ct.
5    App. 1998).
6          Goldwater’s subpoena sought Elizarov’s employment records and income
7    history from Elizarov’s former employer Rite Care for the entire year 2019. To
8    obtain these records consistent with the California Constitution, Goldwater had to
9    prove – and the magistrate had to find – that the information in these records made
10   a fact in dispute “more probable” than in the absence of the evidence. In her
11   ruling, the magistrate found these records to be directly relevant because
12   Goldwater sought “employment and income history records in order to assess
13   whether defendant misrepresented the state of his finances in his initial Mortgage
14   Application and his Mortgage Assistance Application.” Ruling at p. 4
15   (highlighted).
16         This conclusion is wrong as matter of law.
17         First, the magistrate applied the wrong standard. In her ruling, the
18   magistrate concluded that the records were necessary to “assess” whether
19   Goldwater’s allegations were true. That, however, is not the standard. California
20   constitution does not permit Goldwater access to Elizarov’s private employment
21   and income information just because Goldwater wants to “assess” its allegations.
22   Rather, Goldwater had to prove – and the magistrate had to find – that the records
23   contained “directly relevant” information. Therefore, the magistrate used the
24   wrong standard in her ruling. Kayes v Pacific Lumber Co, 51 F.3d 1449, 1464 (9th
25   Cir 1995) (the court commits clear error by applying the wrong legal standard).
26         Second, the complaint did not allege that Elizarov misrepresented his
27   income in the loan application. The complaint merely alleged that Elizarov
28   misrepresented his marital status, failed to disclose a pending BMW lawsuit, and
                                                9
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
     DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 14 of 18 Page ID #:3743




1    failed to disclose his IRS tax lien. Exhibit B [27-28] ¶¶ 23-31 (highlighted). The
2    complaint did not also allege that Elizarov misrepresented his income. Therefore,
3    only records that relate to marital status, BMW lawsuit, and IRS tax lien are
4    relevant. Income, however, is not. (It is also shocking that the magistrate ignored
5    irrefutable evidence that Goldwater lied under oath when Goldwater alleged fraud
6    in the mortgage application 3 and, on top of that, still relied on those perjury-based
7    allegation to justify magistrate’s allowing Goldwater to pry, without any
8    justification, into Elizarov’s constitutionally protected zone of privacy.)
9          Therefore, the magistrate erred as matter of law when the magistrate
10   concluded that Elizarov’s employment and income records from 2019 were
11   directly relevant to Goldwater’s “fraud in the loan application” allegations.
12         And third, nothing about Elizarov’s employment records from 2019 will help
13   Goldwater establish that Elizarov’s lied about his income in May 2020.
14   Goldwater’s theory of fraud goes as follows: to justify forbearance, Elizarov had to
15   report his current income and assets as of May 2020. Elizarov misrepresented
16   Elizarov’s then current income and assets. Therefore, Elizarov committed fraud.
17   Exhibit B [29] ¶¶ 38-41.
18         Under this theory, only the income that Elizarov had in May 2020 when
19   Elizarov applied for forbearance was material because only Elizarov’s then current
20   income was arguably used to justify the forbearance. 4 Elizarov did not have to
21   report his income from earlier employment, including his 2019 Rite Care income.
22
23   3
           Elizarov disclosed his marital status, the BMW lawsuit, and the IRS tax lien
     to Goldwater’s loan officer Gregory Hill in early July 2019. Furthermore, at the
24   time Elizarov applied for the loan, Elizarov no longer had the IRS tax debt because
25   Elizarov paid it in full in July 2018, full 18 months earlier, when Elizarov sold a
     residence in Valley Village, California.
26   4
           Elizarov also argued that the income and assets information was not material
27   because the CARES Act did not allow Goldwater to consider this information in
28   granting the forbearance. However, Elizarov does not need to raise this issue in
     this motion.
                                                 10
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
     DISPOSITIVE MOTION, TO WIT: TO QUASH SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 15 of 18 Page ID #:3744




1    But if Elizarov’s income was not material to Goldwater’s forbearance decision,
2    which Goldwater based on Elizarov’s May 2020 income alone, then nothing in the
3    2019 Rite Care records could possibly make Goldwater’s fraud allegations against
4    Elizarov more likely.
5          Therefore, the magistrate erred as matter of law when the magistrate
6    concluded that Elizarov’s employment records from 2019 were directly relevant to
7    Goldwater’s “fraud in assistance application” allegations.
8          Finally, the magistrate’s fallback position – that “[d]efendant’s employment
9    and income are relevant to assessing plaintiff’s fraud claims generally, including
10   plaintiff’s claims of fraudulent transfer and fraud during the escrow process,”
11   Ruling, p. 5 (highlighted) is deeply flawed. One, as mentioned earlier, the court
12   could not expose Elizarov’s constitutionally protected information just because
13   Goldwater wanted “to assess” Goldwater’s allegations. Rather, discovery could
14   only be allowed if the records were “directly relevant” to an issue in the case. And
15   second, to allow discovery, Goldwater had to identify – and the magistrate had to
16   find – a specific issue of fact in the case and explain how the records would make
17   the existence of that fact more likely than without the evidence. Referring to some
18   non-specified “fraud claims generally” does not satisfy the California
19   constitutional standard.
20         For these reasons, this court should find that the magistrate’s order as cleary
21   erroneous and contrary to law, set the order aside, and enter a new order
22   GRANTING Elizarov’s motion to quash.
23
24         B.     The subpoena is an illegal fishing expedition designed to satisfy
25   Goldwater’s unfounded hunch
26         “Federal Rule of Civil Procedure 45 governs subpoenas, which are the
27   mechanism for obtaining discovery and testimony from non-parties.” Cortinas v.
28   Vasquez, 1:19-cv-00367-JLT-SKO (PC), at *1, 2022 WL 1053298, (E.D. Cal. Apr.
                                              11
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
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                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 16 of 18 Page ID #:3745




1    7, 2022). “A subpoena issued pursuant to Federal Rule of Civil Procedure 45 is
2    subject to the permissible scope of discovery set forth in Federal Rule of Civil
3    Procedure 26.” Gamez v. United States, No. CV-17-02044-PHX-JJT (ESW), at *3,
4    2018 WL 3471074, (D. Ariz. July 19, 2018); accord, GW Grundbesitz AG v. Gunn,
5    221CV02074CDSNJK, 2022 WL 4359131, at *3 (D. Nev. Sept. 20, 2022).
6          The scope of discovery under Rule 26 is broad. The rule allows parties to
7    “obtain discovery regarding any nonprivileged matter that is relevant to any party's
8    claim or defense and proportional to the needs of the case, considering the
9    importance of the issues at stake in the action, the amount in controversy, the
10   parties' relative access to relevant information, the parties' resources, the
11   importance of the discovery in resolving the issues, and whether the burden or
12   expense of the proposed discovery outweighs its likely benefit.” Fed.R.Civ.P.
13   26(b)(1). “Information within this scope of discovery need not be admissible in
14   evidence to be discoverable.” Id.
15         “Relevance for purposes of discovery is defined very broadly” [Citation.].
16   The party seeking to compel discovery has the burden of establishing that its
17   request satisfies the relevancy requirements of Rule 26(b)(1). Thereafter, the party
18   opposing discovery has the burden of showing that the discovery should be
19   prohibited, and the burden of clarifying, explaining or supporting its objections.
20   [Citation.]” Kahaku v. Wallace, 2:20-CV-1807 KJN P, 2022 WL 2333725, at *3
21   (E.D. Cal. June 28, 2022) (internal quotations omitted).
22         Although the right to discovery is broad, it is not unlimited: it must, by
23   design, be limited to facts that are “relevant to any party’s claims or defenses.”
24   Fed.R.Civ.P. 26(b)(1). This limitation necessarily implies that parties may not
25   obtain discovery as a “fishing expedition” to support an allegation that does not
26   appear in the pleadings. Corker v. Costco Wholesale Corp., Cause No. C19-
27   0290RSL, at *3, 2020 WL 712284 (W.D. Wash. Dec. 4, 2020) (“Plaintiffs may not
28   use discovery to develop new claims or defenses that are not asserted in the
                                                12
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
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                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 17 of 18 Page ID #:3746




1    pleadings”); Trustees of the Constr. Indus. & Laborers Health & Welfare Trust v.
2    Las Vegas Metro. Police Sheryl Archie, 2:12-cv-00225-JCM-VCF, at *6,
3    https://casetext.com/case/trustees-of-the-constr-indus-laborers-health-welfare-trust-
4    v-las-vegas-metro-police-sheryl-archie (D. Nev. July 15, 2013) (“the parties ‘have
5    no entitlement to discovery to develop new claims or defenses that are not already
6    identified in the pleadings’”); Monte H. Greenawalt Revocable Trust v. Brown,
7    2:12-cv-01983-LRH-VCF, at *5, 2013 WL 6844760 (D. Nev. Dec. 18, 2013) (“the
8    parties have no entitlement to discovery to develop new claims or defenses that are
9    not already identified in the pleadings”).
10         Setting the constitutional privacy issue aside, even the generous relevance
11   standard under Rule 26 did not permit Goldwater to seek Elizarov’s employment
12   and income records from 2019. Rule 26 permits Goldwater to obtain records that
13   are either directly admissible or could lead to the discovery of admissible evidence.
14   By corollary, if the records could help Goldwater assess some claims that
15   Goldwater has not yet alleged in the complaint, then the subpoena is tantamount to
16   an illegal “fishing expedition.”
17         Goldwater’s subpoena sought employment and income history from
18   Elizarov’s former employer Rite Care for the entire year 2019. To be relevant
19   under the Rule 26 standard, these records must either be directly admissible or
20   calculated to lead to admissible evidence needed to prove an allegation of fact in
21   the complaint. But as mentioned earlier, nothing in Goldwater’s complaint related
22   to Elizarov’s income in 2019. Although Goldwater alleged (i.e., lied) that Elizarov
23   misrepresented his marital status, failed to disclose a pending BMW lawsuit, and
24   failed to disclose his IRS tax lien 5. Income was not mentioned. Therefore, by
25   seeking records about Elizarov’s income for 2019, Goldwater is not seeking to
26
27   5
           It’s worth mentioning that the loan application did not require Elizarov to
28   disclose any liens. The application instead required Elizarov to disclose whether
     Elizarov was in default on any federal debt.
                                              13
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
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                                             [191]
 Case 5:21-cv-00616-JWH-SP Document 203 Filed 10/04/22 Page 18 of 18 Page ID #:3747




1    prove existing allegations. Goldwater instead seeks “to develop new claims…that
2    are not asserted in the pleadings,” to wit: that, perhaps, Elizarov misrepresented his
3    income in the loan application as well. See Corker, supra, 2020 WL 712284. Rule
4    26 does not permit Goldwater to use discovery for this purpose. If Goldwater
5    claims that Elizarov also lied about his income, and Goldwater’s counsel has
6    evidentiary basis to support this claim 6,then Goldwater should first seek leave to
7    amend the complaint to allege this new claim. Until then, Goldwater has no right
8    to access these records, and the magistrate committed clear error of law when the
9    magistrate rules otherwise.
10                                     CONCLUSION
11         Goldwater sought Elizarov’s income and employment records from 2019.
12   Contrary to the magistrate’s findings, these records were not directly relevant to
13   the claim of fraud in the loan application because the complaint did not allege that
14   Elizarov misrepresented his income in that application. The records were also not
15   directly relevant to the claim of fraud in the assistance application because the
16   application did not require Elizarov to disclose his 2019 income. Rather, the
17   application required Elizarov to disclose his then current income.
18         Therefore, the court should find that the magistrate made a clear error, set
19   the order aside, and enter a new order GRANTING Elizarov’s motion to quash the
20   subpoena.
21   Dated: 10/04/2022                      LOIA, INC. (APLC)
22
23
24                                          By: Ilya Alekseyeff
                                            Attorney for Artur Elizarov
25
26
27
28
     6
            Counselors are reminded about their obligation to allege only those claims
     that have evidentiary support. Fed.R.Civ.P. 11(b)(3).
                                            14
     MEMORANDUM SUPPORTING MOTION FOR REVIEW OF MAGISTRATE JUDGE’S RULING ON A NON-
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                                             [191]
